          Case 1:20-cr-00330-AJN Document 98 Filed 12/17/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------X
                                    :
UNITED STATES OF AMERICA            :                                 Notice of Appearance
                                    :
          -v-                       :
                                    :                                 20 Cr. 330 (AJN)
GHISLAINE MAXWELL,                  :
                                    :
                     Defendant.     :
                                    :
------------------------------------X


TO:     Clerk of Court
        United States District Court
        Southern District of New York

        The undersigned attorney respectfully requests the Clerk to note his appearance in this case

and to add him as a Filing User to whom Notices of Electronic Filing will be transmitted in this

case.

                                                        Respectfully submitted,

                                                        AUDREY STRAUSS
                                                        Acting United States Attorney for the
                                                        Southern District of New York


                                                  by:              /s/
                                                        Andrew A. Rohrbach
                                                        Assistant United States Attorney
                                                        (212) 637-2345

TO:      Counsel of record (by ECF)
